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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

 DAVID TREECE and ROBYN TREECE,              )
                                             )
                       Plaintiffs,           )       Case No. 3:17-cv-341-JPG-DGW
                                             )
                                             )       Judge: J. Phil Gilbert
                                             )
               vs.                           )       Magistrate Judge: Donald G. Wilkerson
                                             )
 MERCHANTS CREDIT, LLC,                      )
                                             )
                       Defendant.            )

                                STIPULATION OF DIMSISSAL


        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff and Defendant
 Merchants Credit, LLC hereby stipulate to the dismissal of this action with prejudice as between
 these parties, which each to bear its own costs and fees. This hereby concludes the entire case.
 Respectfully submitted,
 ROBYN TREECE


 By:
 /s/ Francis R. Greene                               By: /s/ Alfred E. Sanders Jr. (With Consent)
    One of Their Attorneys                                  One of Its Attorneys

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                                 CERTIFICATE OF SERVICE

         I, Francis R. Greene, hereby certify that on February 5, 2018, a true an accurate copy of
 the foregoing document was filed via the Court’s CM/ECF system which sent notification to all
 counsel of record.



                                                             /s/ Francis R. Greene
                                                                Francis R. Greene
